            Case 1:19-cr-00366-LGS Document 173 Filed 02/25/21 Page 1 of 1



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                               :
UNITED STATES OF AMERICA                                       :
                                                               :   19 Crim. 366 (LGS)
                           -against-                           :
                                                               :        ORDER
STEPHEN M. CALK,                                               :
                                             Defendant.        :
------------------------------------------------------------- X
LORNA G. SCHOFIELD, District Judge:

        WHEREAS, on February 24, 2021, the Court issued an Order construing Mr. Randall

Rigby’s e-mail submission as a motion to modify or quash a grand jury subpoena (the “Motion”)

and denying the Motion as moot in light of the Government’s consent to remote video testimony.

        WHEREAS, on February 24, 2021, Mr. Rigby filed a copy of the Motion. Dkt. No. 170. It

is hereby

        ORDERED, that the Court’s February 24, 2021, Order denying the Motion as moot, applies

to the entry Docket No. 170.

        The Clerk of Court is respectfully directed to close the motion at Docket No. 170.


Dated: February 25, 2021
       New York, New York
